Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 1 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 2 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 3 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 4 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 5 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 6 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 7 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 8 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
           Exhibit Exhibits to Response to Debtors Motion Page 9 of 10
Case 08-14631-GMB Doc 462-1 Filed 07/01/08 Entered 07/01/08 17:07:02     Desc
          Exhibit Exhibits to Response to Debtors Motion Page 10 of 10
